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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION

                                        §
 MARTEN GROUP, INC. d/b/a               §
 SENERGY MEDICAL GROUP and              §
 SCOTT TENNANT,                         §
                                        § Case No. 3:24-cv-01852
       Plaintiffs,                      §
                                        § JURY TRIAL DEMANDED
 v.                                     §
                                        §
                                        §
 JERALD TENNANT, MD, JOHN               §
 TENNANT, TERESA JESSEN                 §
 TENNANT, JARED TENNANT,                §
 TENNANT DEVICES AND                    §
 ACCESSORIES, LLC, and                  §
 CURADOR,                               §
 LLC,                                   §
      Defendants.



       DEFENDANTS’ AMENDED MOTION FOR PRELIMINARY
                       INJUNCTION




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                              I.    INTRODUCTION

      Beginning in 2003, Dr. Tennant introduced to the U.S. market micro-current

therapy medical devices enhanced by his own research and marked with his

branding. The devices were a success. Starting in 2005, Dr. Tennant registered his

valuable trademarks with the United States Patent and Trademark Office

associated with these devices—Tennant BioModulator®, Tennant

BioTransducer®, and Healing is Voltage®. Dr. Tennant later assigned the marks to

Tennant Devices and Accessories, LLC (TDA), which he controls. Dr. Tennant

and TDA (collectively Dr. Tennant) seek a preliminary injunction to prohibit the

infringing use of these valuable marks by former licensees Scott Tennant and

Marten Group, Inc. d/b/a Senergy Medical Group (collectively Senergy).

      For 20 years, Dr. Tennant granted Scott a license to use the marks, which

Scott did through his company Senergy, in exchange for a royalty payment from

device sales. But, in April/May 2024, Dr. Tennant discovered that Senergy had

been grossly underreporting sales and underpaying royalties owed. Stunned by his

stepson’s flagrant breaches, Dr. Tennant canceled Scott’s license on June 21, and

informed Scott and Senergy that they could no longer use the Tennant marks.

Notwithstanding the cancelation, Senergy admits it continues to sell Dr. Tennant’s

branded devices and distribute marketing materials falsely associating Dr. Tennant

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with Senergy’s business.

      Dr. Tennant respectfully requests that the Court issue a preliminary

injunction prohibiting Senergy’s infringement.

                                II.     BACKGROUND

      A. Dr. Tennant’s Extensive History of Medical Innovation.

      Dr. Tennant completed his residency in ophthalmology at Massachusetts

Eye and Ear Infirmary of Harvard Medical School and Southwestern Medical

School/Parkland System in 1968. Tennant Decl. ¶ 32 at App. 016. From the outset,

Dr. Tennant has innovated medical products and methods to improve lives and

medical outcomes. Id. His numerous contributions earned him the Corboy Award

for Advancements in Ophthalmology and the American Academy of

Ophthalmology Award. Id. ¶ 33-34 at App. 017.

      After decades of practice and thousands of eye surgeries, Dr. Tennant

became severely ill, and devoted himself to studying cellular biology and

alternative treatments to heal himself. Id. ¶¶ 2-3 at App. 002-003. Dr. Tennant’s

research led him to a method for fighting chronic illness by maintaining voltage

levels in cells. Id. ¶ 3 at App. 003.

      Dr. Tennant sought to bring this new treatment and the associated

technology to market in the United States. Id. ¶ 3 at App. 003-004. In


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approximately 2003, Dr. Tennant worked with a U.S. based manufacturer to

manufacture the Tennant BioModulator® and differentiated his device from others

by using the voltage frequencies he found more effective for healing. Id. ¶ 6 at

App. 004-005. This device, ultimately marked with his Tennant BioModulator®

mark, is an FDA accepted non-invasive device, designed to offer healthcare

professionals and home users affordable drug-free and user-friendly options for

relief from chronic pain. Id. Dr. Tennant initially introduced the Tennant

BioModulator® to the market through his medical practice and education

seminars, and by 2004 the manufactured device contained his mark, which he then

applied to register in 2005. Id. at ¶ 9 at App. 005-006; see also Tennant Exs. A-23

(App. 148-149), A-28 (App. 161-163), A-29 (App. 164-165).

      In 2012, Dr. Tennant developed additional technology that enhances the

Tennant BioModulator® treatment—the Tennant BioTransducer®—was again

manufactured to Dr. Tennant’s specifications. Tennant Decl. ¶ 9 at App. 005. Dr.

Tennant introduced this technology to the market through his personal promotion

of the products and prescription to his patients. Id. ¶ 9 at App. 005.

      B.     Dr. Tennant Grants Scott License Rights to Use Dr. Tennant’s
             Marks.

      Scott is Dr. Tennant’s stepson. Tennant Decl. ¶ 5 at App. 004. During the

Tennant BioModulator® development phase, Dr. Tennant offered Scott a new

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career opportunity selling the trademarked medical devices. Id. On June 15, 2003,

Dr. Tennant and Scott executed a Royalty Agreement (2003 Agreement) to enable

Scott to market and sell the devices Dr. Tennant developed and branded. Id.;

Tennant Ex. A-5 at App. 031-038. The 2003 Agreement recites that Dr. Tennant

“owns and has the right to grant interest in Tennant BioModulator.” Dr. Tennant

then granted to Scott “the rights and license” to use the Tennant BioModulator®

mark for a period of 20 years in connection with the sale of medical devices.

Tennant Ex. A-5 at App. 032. Scott agreed to (1) pay a $350 royalty from each sale

of the Tennant BioModulator® device (id. at App. 034), and (2) keep an accurate

account of revenue generated from the device sales and provide monthly

statements of those sales to Dr. Tennant (id. at App. 034-035). If Scott failed to

comply with his obligations to provide regular statements of sales and pay royalties

on those sales, such default is a basis to terminate the 2003 Agreement with 30-

days notice. Id. at App. 035.

      On October 1, 2012, Dr. Tennant and Scott executed a second Royalty

Agreement (2012 Agreement). Tennant Decl. ¶ 11 at App. 007; Tennant Ex. A-6 at

App. 039-046. The 2012 Agreement granted Scott rights and license to use the

Tennant BioModulator® mark in connection with sales of the device, for a period

of twenty (20) years. Id. at App. 040. In exchange, Scott agreed to pay Dr. Tennant


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a $550 royalty per unit sold. Id. at App. 042. The 2012 Agreement incorporates the

same termination provision. Id. at App. 043. Collectively, the 2003 Agreement and

2012 Agreement constitute the License Agreements.

        In March 2016, Dr. Tennant and Scott discussed a clarifying affidavit to

explain Senergy’s license to use the trademarks covered by the Licensing

Agreements. Tennant Ex. A-12 at App. 060-061. Although Scott agreed to sign

such documents to align with the fact that the royalty payments were made by

Senergy, he never provided a copy of a signed affidavit to Dr. Tennant. Tennant

Decl. ¶ 18 at App. 011. Nonetheless, contemporaneous communications reflect that

commercial reality—i.e., everyone involved understood that Dr. Tennant

controlled the right to license the (now federally registered) marks and that his

permission for Scott to use those marks provided the basis for Senergy’s use.1 See,

e.g., Tennant Ex. A-12 at App. 061.

        On March 15, 2016, Dr. Tennant signed and sent an addendum to Scott

(Addendum 1), which permitted cancelation of the Agreements “by either party,

without prejudice and for any reason” with 30-days notice. Tennant Ex. A-10 at

App. -056-057. Addendum 1 also included a new royalty calculation method,

under which Scott would pay 15% of the retail sales price of the Tennant


1
 This is also consistent with an October 1, 2012 Royalty Agreement between Dr. Tennant and Senergy Medical
Group, signed by Scott Tennant on behalf of Senergy. See App. 315-322, Tennent Supp. Decl., Ex. D-3.

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BioModulator®, BioModulator® Pro, and BioTransducer®. Id. Scott did not sign

Addendum 1. Id.

      On April 22, 2016, Scott sent a proposed addendum to Dr. Tennant

(Addendum 2). Addendum 2 incorporated the identical cancelation term allowing

cancelation “without prejudice and for any reason” with 30-days’ notice. Tennant

Ex. A-11 at App. 058-059. Addendum 2 provided Scott’s own suggested royalty

calculation method for each existing marked product that Senergy had been selling

with Dr. Tennant’s permission in exchange for royalty payments—the Tennant

BioModulator®, Tennant BioModulator® PRO, and BioTransducer®

CrystalWave (later redeveloped and marked as the Tennant BioTransducer® PRO

and PRO II). Id.

      C.     Dr. Tennant Diligently Protected the Tennant Marks.

      While building a bustling medical practice and a nationwide market for his

new devices, Dr. Tennant first applied to register his Tennant device trademarks

with the USPTO on the Principal Register. On October 17, 2006, the USPTO

registered the Tennant BioModulator® mark. Tennant Ex. A-1 at App. 020-021.

Separately, on August 13, 2013, the USPTO registered the Tennant

BioTransducer® mark. Tennant Ex. A-2 at App. 022-024. These marks have been

assigned throughout the years, including most recently to TDA, which Dr. Tennant


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controls. Tennant Decl. ¶ 4 at App. 003.

         In May 2013 and December 2015, Dr. Tennant also registered his Healing is

Voltage® marks. Tennant Exs. A-3 at App. 025-027 & A-4 at App. 028-030.

These marks are associated with Dr. Tennant’s treatment and training seminars and

materials related to the Tennant BioModulator® and Tennant BioTransducer®

devices and therapy, all of which he has promoted through the Tennant Institute

since at least 2006.2 Id.

         Dr. Tennant’s collection of trademarks (the marks) are summarized below:

          Trademark/ Wordmark            Reg. Date                   Services                   Reg. No.
    TENNANT BIOMODULATOR®            Oct. 17, 2006     (Int’l Class: 010; U.S. Classes:       3157112
    and design:                                        026, 039, 044)

                                                       Medical apparatus and
                                                       instruments for use in
                                                       electromagnetic resonance
                                                       therapy, namely, cybernetic
                                                       biofeedback devices, interactive
                                                       neuromuscular simulators, and
                                                       diagnostic testing equipment
    TENNANT BIOTRANSDUCER®           Aug. 13, 2013     (Int’l Class: 010; U.S. Classes:       4382782
                                                       026, 039, 044)

                                                       Medical apparatus and
                                                       instruments for use in
                                                       electromagnetic resonance
                                                       therapy, namely, cybernetic
                                                       biofeedback devices, interactive
                                                       neuromuscular simulators, and
                                                       diagnostic testing equipment
    HEALING IS VOLTAGE®              May 14, 2013      (Int’l Class: 16; US Classes: 2, 5,    4334430
                                                       22, 23, 29, 37, 38, 50)

                                                       A series of books, written articles,
                                                       handouts and worksheets in the
                                                       field of energy medicine and

2
        The USPTO acknowledged the incontestable status of the Tennant BioTransducer® mark on
September 10, 2018 (Tennant Ex. A-26 at App. 157-158) and the same for the Healing is Voltage® marks
on June 29, 2018 and May 7, 2022 (Tennant Exs. A-25 at App. 155-156 & A-27 at App. 159-160).

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      Trademark/ Wordmark          Reg. Date                   Services                Reg. No.
                                                 healthcare
 HEALING IS VOLTAGE®            December 29,     (Int’l Class: 41; US Classes: 100,   4878439
                                2015             101, 107)

                                                 Providing lectures and seminars
                                                 in the field of energy medicine
                                                 and healthcare


Throughout this licensing arrangement and Dr. Tennant’s own use of his marks,

neither Scott nor Senergy ever objected to these registrations, challenged the

validity of the marks, or claimed that they own Dr. Tennant’s marks. Tennant Decl.

¶ 7 at App. 005.

      D.     The Parties Enjoyed 20 Years of Success from Dr. Tennant’s
             Products.

      As Senergy explicitly recognizes, the licensing arrangement “ran smoothly”

for nearly two decades. Compl. ¶ 24. Senergy sold thousands of the trademarked

Tennant BioModulator® and Tennant BioTransducer® devices. See Tennant Ex.

A-18 at App. 127-133. Between 2020 and 2023 alone, Senergy reported selling an

average of 734 units per year. Id. at App. 130-133. Senergy’s website recognizes

Dr. Tennant’s central role with respect to the success of these trademarked devices:

      Dr. Jerry Tennant, MD, MD(H), PScD is the founder of the Tennant Institute
      for Integrative Medicine, a world-renowned physician and integrative health
      practitioner, and the inventor of the Tennant BioModulator®.

See, Farmer Decl. Ex. B-1 at App 192; see also Farmer Decl. Ex. B-2 at App. 199.

      Throughout this relationship, Dr. Tennant worked diligently to ensure the


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quality of the devices and associated medical treatment. Tennant Decl. ¶¶ 13-16 at

App. 007-009. For example, the Tennant BioTransducer® (a/k/a crystal waves)

was initially manufactured by Avazzia. Jared Tennant Decl. ¶ 5 at App. 278-279.

Dr. Tennant determined the product quality was insufficient. Tennant Decl. ¶ 13 at

App. 007-008. He then enlisted a manufacturer in Florida to develop a new

version, the Tennant BioTransducer® Pro. Id. at App 008; Jared Tennant Decl. ¶ 5

at App. 278-279. This device also was not up to Dr. Tennant’s exacting standards.

Id. As a result, in 2019, he pivoted to producing the device with his son, Jared

Tennant, so that he could ensure a higher quality product. Jared Tennant Decl. ¶¶

5-6 at App. 278-279. Jared continued to manufacture the Tennant

BioTransducers® sold by Senergy before Dr. Tennant terminated the licensing

agreement. Id. ¶ 8 at App. 279-280. Dr. Tennant also developed training materials

and lectured regularly at seminars, which were provided to the public under his

Healing is Voltage® marks. Tennant Decl. ¶ 17 at App. 009; Farmer Ex. B-3 at

App. 208-222.

      Dr. Tennant also has maintained an active medical practice, which includes

prescribing treatment using the Tennant devices where appropriate and working

with patients to ensure the efficacy of their treatment regimens. Tennant Decl. ¶ 17

at App. 009. His insight into any quality concerns from a patient perspective and


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work with the manufacturer and Senergy to maintain high quality has been

continuous for decades.

       E.    Senergy Infringes the Tennant Trademarks in Violation of
             Federal Law.

       For years and according to the License Agreements, Senergy would send Dr.

Tennant a spreadsheet reflecting patient names and devices sold. Tennant Decl. ¶

21 at App. 011. Based that accounting, Senergy would make royalty payments to

Dr. Tennant. Id.; Tennant Ex. A-24 at App. 150-154. More recently, Senergy

stopped consistently providing detailed monthly accounting statements. Tennant

Decl. ¶ 21 at App. 011. Instead, Senergy would send an email stating the royalty

payment without supporting documentation. Id.; Tennant Ex. A-13 at App. 062-

070.

       In response, Dr. Tennant requested that Scott provide supporting

documentation. Tennant Ex. A-14 at App. 072. Senergy provided several

spreadsheets reflecting the reported device sales. Tennant Decl. Exs. A-15 at App.

074-075 & A-16 at App. 077-124. But Dr. Tennant discovered that Scott had been

significantly underreporting the number of sales of the marked devices since at

least 2021. For example, in 2021, Senergy reported the sale of 388

BioTransducer® Pro IIs to Dr. Tennant. Tennant Ex. A-18 at App. 128-133. But a

spreadsheet sent by Senergy to Jared related to BioTransducer® Pro II repairs

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reflects 593 total sales. Compare Tennant Ex. A-18 at App. 131 with Jared Tennant

Decl. Ex. C-1 at App. 289. Another disparity arose when Senergy’s CFO

responded to an audit request stating that it had paid Dr. Tennant $414,350 in

royalties for calendar year 2021. Tennant Ex. A-18 at App. 131. But the tax form

(1099) that Senergy had provided to Dr. Tennant for 2021 reflected $350,900 in

royalty payments. Tennant Ex. A-20 at 141. Based on these documents, Dr.

Tennant estimates millions of dollars of underpaid royalties. Tennant Decl. ¶ 26 at

App. 013.

      Because of the sustained violations of the Licensing Agreements (both

failures to provide adequate documentation and underpayments), Dr. Tennant

unequivocally canceled the Licensing Agreements on June 21, 2024. Tennant Ex.

A-21 at App. 142-145; Tennant Decl. ¶ 27 at App.013. That same day Dr. Tennant

delivered to Avazzia, the Tennant BioModulator® manufacturer, notification of

the cancelation of the Licensing Agreements. Tennant Ex. A-22 at App. 147.

      Despite providing notice to all relevant parties and the expiration of the 30-

day notice period on July 21, Senergy continues to use the trademarks. Tennant

Decl. ¶ 28 at App. 014. The Complaint alleges: “Senergy is presently engaged in

the sale and advertising of goods under TENNANT marks, including but not

limited to TENNANT BIOMODULATOR and TENNANT BIOTRANSDUCER


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and variants thereof.” Compl. ¶ 53.

          On July 23, Dr. Tennant delivered through counsel a second notice to Scott

regarding the termination of the Licensing Agreement. Dr. Tennant reiterated

TDA’s ownership of the marks. Farmer Ex. B-4 at App. 223-226. The letter

specifically demanded that Scott and Senergy immediately cease and desist any

actions that infringe on Dr. Tennant’s marks. Id. at App 225. Nevertheless,

Senergy’s infringement continues:


                              Image 1 - Image from Senergy's Homepage3




                              Image 2 - Image from Senergy's Homepage4




3
    Senergy, “Senergy homepage,” https://store.senergy.us/ (last visited Aug. 28, 2024).
4
    Senergy, “Senergy homepage,” https://store.senergy.us/ (last visited (Aug. 28, 2024).

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   Image 3- Catalog of Tennant BioModulator® and the Tennant BioTransducer® Devices




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                                 Listed for Sale on Senergy's Website5




        Dr. Tennant has also requested that Avazzia discontinue distribution of



5
 Senergy, “Shop All,”
https://store.senergy.us/collections/all?filter.v.price.gte=&filter.v.price.lte=&filter.p.product_type=Tenna
nt+BioModulator+%26+BioTransducer+Devices (last visited Aug. 28, 2024).

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trademarked products to Senergy, to no avail. Farmer Ex. B-5 at App. 227-229. As

a result, Dr. Tennant does not have access to newly manufactured devices. This

means that his patients cannot purchase the marked devices from an authorized

distributor, but instead must go to Senergy to purchase them. Tennant Decl. ¶ 29 at

App. 014-015.

        F.      Procedural History.

        Dr. Tennant initially filed suit in Dallas County District Court focused on his

breach of contract claims. Tennant Devices & Accessories, LLC v. Marten Group,

Inc. d/b/a Senergy Medical Group, No. DC-24-10471 (filed July 18, 2024).6 Now

that Scott has refused to comply with the cease-and-desist demands related to Dr.

Tennant’s marks, Dr. Tennant must seek relief from this Court, including

enforcement of his trademark rights.

        Scott and Senergy filed this federal suit just days after Dr. Tennant filed in

state court. Marten Group, Inc. d/b/a Senergy Medical Group v. Jerald Tennant,

MD, No. 3:24-cv-01852-E (filed July 21, 2024). Plaintiffs seek declaratory

judgment that would allow them to continue infringing Dr. Tennant’s trademark

rights. See Compl. ¶¶ 49, 48, 60-62. Defendants answered the complaint and filed



6
 Because Dr. Tennant’s counterclaims incorporate the allegations of the state court suit and now include
claims under the Lanham Act, Dr. Tennant has non-suited the state court action and consolidated all
claims here, pursuant to the Court’s federal question jurisdiction.

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counterclaims, including trademark infringement (15 U.S.C. § 1114), unfair

competition (15 U.S.C. § 1125), and trademark dilution (15 U.S.C. § 1125(c)),

among other common law and breach of contract claims.

                             III. LEGAL STANDARD

      A party seeking a preliminary injunction must establish: “(1) it is

substantially likely to succeed on the merits of its claim; (2) it will suffer

irreparable injury in the absence of injunctive relief; (3) the balance of the equities

tips in its favor; and (4) the public interest is served by the injunction.” Id. (quoting

Sahara Health Care, Inc. v. Azar, 975 F.3d 523, 528 (5th Cir. 2020)). A party need

not “prove its case in full at a preliminary injunction hearing.” Fed. Sav. & Loan

Ins. Corp. v. Dixon, 835 F.2d 554, 558 (5th Cir. 1985).

      The Lanham Act grants the Court the power to issue injunctions. 15 U.S.C. §

1116(a). A preliminary injunction serves to “preserve the relative positions of the

parties until a trial on the merits can be held.” Savage Tavern, Inc. v. Signature

Stag, LLC, 589 F. Supp. 3d 624, 639 (N.D. Tex. 2022). Where trademark

infringement is at issue, the status quo preserves the last time when the mark was

not contested—i.e. before the infringer unlawfully began using the mark. Id.




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                                IV. ARGUMENT

      A.     Senergy Is Actively Infringing on Dr. Tennant’s
             Trademarks.

      To demonstrate trademark infringement under the Lanham Act (15 U.S.C. §

1114), a claimant must show “(1) it possesses a legally protectable trademark and

(2) the alleged infringer’s use of this trademark creates a likelihood of confusion as

to source, affiliation, or sponsorship.” Savage Tavern, 589 F. Supp. at 640 (citation

omitted).

             1.     Dr. Tennant possesses a legally protectable trademark.

      The Lanham Act “confers important legal rights and benefits on trademark

owners who register their marks with the Patent and Trademark Office.” Id. at 641

(internal citations omitted). Registration serves as “constructive notice of the

registrant’s claim of ownership,” 15 U.S.C. § 1072, and “registrants enjoy a

presumption of validity and exclusivity” in infringement actions (Savage Tavern,

589 F. Supp. 3d at 641 (citing 15 U.S.C. § 1115)(a)). Indeed, registration “shall be

prima facie evidence” of the validity of the mark, its ownership, and the

registrant’s “exclusive right to use” the mark in commerce. 15 U.S.C. § 1115(a).

      All of Dr. Tennant’s marks at issue are registered with the USPTO. This

alone demonstrates the marks are valid and that Dr. Tennant (through TDA) owns

and has the exclusive right to use the marks. See Savage Tavern, 589 F. Supp. 3d at


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644; see also Wilson v. Tessmer Law Firm, PLLC, 483 F. Supp. 3d 416, 424 (W.D.

Tex. 2020).

                2.      Because the trademarks are distinctive, they are protectable.

        Senergy has not challenged the distinctiveness of Dr. Tennant’s marks. Nor

could it. At minimum, the marks are descriptive and have acquired secondary

meaning.7 E.g., Fletcher’s Original State Fair Corny Dogs, LLC v. Fletcher-

Warner Holdings LLC, 434 F. Supp. 3d 473, 484 (E.D. Tex. 2020) (categorizing

family name marks as descriptive). Courts consider the following factors to

determine whether a mark has acquired secondary meaning:

        (1) length and manner of use of the mark or trade dress, (2) volume of sales,
        (3) amount and manner of advertising, (4) nature of use of the mark or trade
        dress in newspapers and magazines, (5) consumer-survey evidence, (6)
        direct consumer testimony, and (7) the defendant’s intent in copying the
        mark.

Fletcher’s, 434 F. Supp. 3d at 484. Any combination of these factors may show

distinctiveness. Viacom Int’l v. IJR Capital Invests., L.L.C., 891 F.3d 178, 190 (5th

Cir. 2018).

        These factors conclusively demonstrate that Dr. Tennant’s marks have



7
  Dr. Tennant’s marks are properly categorized as suggestive because they “suggest, but do[] not describe,
an attribute of the good” and “require[] the consumer to exercise his or her imagination to apply the
trademark to the good.” Rex Real Estate I, L.P. v. Rex Real Estate Exchange, Inc., 80 F.4th 607, 619
(2023). Because the marks also meet the more stringent test of acquiring secondary meaning, the Court
need not decide the categorization issue at this time.

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acquired secondary meaning.

      - Lengthy Use: The trademarks have been in use between nine (Healing is
        Voltage®) and fifteen (product marks) years and consistently used
        throughout those periods. See, e.g., Viacom, 891 F.3d at 190 (a mark used
        for 18 years and in many episodes of a television show support secondary
        meaning); Fletcher’s, 434 F. Supp. 3d at 484 (mark in use for several
        decades and associated with the sale of corndogs supports secondary
        meaning).

      - Millions in Sales: It is undisputed that the volume of sales has been
        significant. Both Scott and Dr. Tennant have made millions of dollars
        from revenues and resulting royalties. See, e.g., Compl. ¶ 24. Even
        adopting Senergy’s underreported sales of devices, in 2021 alone
        Senergy received over $8 million in revenues (Tennant Ex. A-19 at App.
        139) and (under)paid Dr. Tennant $414,000 in royalties (Tennant Ex. A-
        18 at App. 131).

      - Effective Advertising: Marketing directly and effectively connected the
        marks to Dr. Tennant, thereby altering the meaning of the marks (i.e.,
        Tennant refers to Dr. Jerry Tennant). Fletcher’s, 434 F. Supp. 3d at 485.
        For example, Senergy’s website references “the proprietary frequency
        developed by Dr. Tennant emitted through the BioModulator” and touts
        the “ultimate therapy” is directed by Dr. Tennant. Farmer Ex. B-6 at App.
        230-236. Senergy advertises courses as: “courses are for anyone who is
        interested in learning more about Dr. Jerry Tennant, Healing is Voltage®,
        and why your body needs proper voltage in order to create new and
        healthy cells.” Farmer Ex. B-7 at App. 237-241

      - Use of Marks in Journals: Senergy’s website links to medical journals
        that reference Dr. Tennant’s marks confirming that direct consumers and
        medical professionals can view this marketing. See, e.g., Farmer Decl.
        Ex. B-8 at App. 242-253. E.g., at App. 252, (Kimberly S. Peakcock, et
        al., A Randomized trial comparing the Tennant BioModulator® to
        transcutaneous electrical nerve stimulation and traditional Chinese
        acupuncture for the treatment of chronic pain in military service
        members, 6(1) Mil. Med. Res. 37 (Dec. 2019)).


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        - Consumer Testimony: Although neither party has yet performed
          consumer surveys,8 testimonials on Senergy’s website support that
          consumers affiliate the marks with Dr. Tennant. Several of the videos
          specifically reference or thank Dr. Tennant for his treatment using the
          Tennant marked devices. See, e.g., Senergy Testimonials, “Chronic
          Migraines Cured with ANS Reset,”
          https://www.youtube.com/watch?v=Fh0V51fPxU8&t=6s (last visited
          Aug. 27, 2024); see also id., “Georgia Heisser – TMJ Cured & Worthy
          Investment,” https://vimeo.com/618295385/5460b1f413, (last visited
          Aug. 27, 2024); id., “David Arfa Testimonial Clip,”
          https://vimeo.com/618293775/eeb38cf8c2, (last visited Aug. 27, 2024).

        - Senergy Is Using the Identical Mark: Senergy concedes it continues to
          use the identical marks that Dr. Tennant registered (see Compl. ¶ 53),
          implicitly recognizing the meaning and, in turn, value the marks have
          attained. Fletcher’s, 434 F. Supp. 3d at 480 (infringer’s use of the family
          name to precisely because it would associate its product with the family’s
          reputation supports secondary meaning).

        Dr. Tennant readily demonstrates the marks have acquired secondary

meaning and are protectable.

                3.       Dr. Tennant is the senior user of the trademarks.

        Senergy’s primary defense to the protectability of the trademarks is the

outrageous assertion that Senergy was the first to place the mark in commerce.

Union Nat’l Bank of Texas, Laredo, Tex. v. Union Nat’l Bank of Texas, Austin,

Tex., 909 F.2d 839, 842-43 (1990) (party must show it is senior user to

demonstrate a protectable mark). This argument is meritless because Dr. Tennant



8
 Dr. Tennant has not had an opportunity to obtain survey data or customer testimony. This is not
determinative. Viacom, 891 F.3d at 191.

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and Scott entered into licensing agreements whereby Dr. Tennant authorized Scott

to market and distribute Dr. Tennant’s marked medical devices in exchange for

royalty payments to Dr. Tennant.

      Trademark law recognizes an owner’s right to license the use of the marks

with distributors. ICEE Distributors, Inc. v. J&J Snack Foods Corp., 325 F.3d 586,

598 (5th Cir. 1998). Licensing allows more distribution of information to the

public “without the licensor having to risk losing title to its mark.” Id. (emphasis

original). In other words, “[e]ven if only the licensee uses the mark, ownership

rights in a trademark or service mark can be acquired and maintained through the

use of the mark by the controlled licensee.” Viacom, 891 F.3d at 188 (internal

quotes omitted). This is consistent with the Lanham Act’s assurance that legitimate

use by related companies—i.e. companies whose use is “controlled by the owner

of the mark” (15 U.S.C. § 1127)—“shall inure to the benefit of the registrant” and

does not “affect the validity of such mark” (15 U.S.C. § 1055). A former licensee

is not permitted to mislead the public, “[f]or once the contract ends, a licensee’s

right to the mark ends, and any subsequent use constitutes infringement.” Pro.

Golfers Ass’n of Am. v. Bankers Life & Cas. Co., 514 F.2d 665, 670 (5th Cir.

1975).

      Consistent with this authority, Dr. Tennant is the senior user. After working


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with an American manufacturer in 2003 to create a device to his specifications, he

placed the marked Tennant BioModulator® product into commerce in 2003 via his

promotion of the devices in therapy, prescription to his patients, and granting Scott

a license to use the Tennant BioModulator® mark in sales of those devices.

Tennant Exs. A-5 & A-6 at App. 031-046. Scott then paid Dr. Tennant royalties,

the value of which was to correspond with each trademarked BioModulator unit

sold. Tennant Decl. ¶ 8 at App. 005. Scott explicitly recognized that these License

Agreements applied to Senergy as well. Tennant Ex. A-12 at App. 060-061. The

contemporaneous communications and two decades of course of dealing confirm

that Dr. Tennant owns the trademarks and Senergy’s only use of them was based

on Dr. Tennant’s permission (and compensation).

      This arrangement applied equally to the Tennant BioTransducer® mark

from 2012 forward. While the parties did not have a written licensing agreement,

Senergy consistently followed the same distribution and royalty payments

obligations set forth in the Tennant BioModulator® agreements, in clear

recognition of Dr. Tennant’s ownership rights. Tennant Ex. A-18 at App. 128-133.

For similar reasons, the parties recognized the Healing is Voltage® marks

belonged to Dr. Tennant, as they used the education materials in connection with

the marked devices and education seminars related to Dr. Tennant’s treatments.


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Tennant Decl. ¶ 17 at App. 009-010. Federal courts regularly recognize such

arrangements: “even if the parties intend no formal licensing agreement . . . the

entire course of conduct between a trademark owner and accused infringer may

create an implied license.” Exxon Corp., 109 F.3d at 1076.

      Scott and Senergy’s vague allegations that the License Agreements are

unenforceable and/or were not canceled are specious. Two decades of conduct

confirm the parties had a meeting of the minds that allowed Senergy to use Dr.

Tennant’s marks in exchange for royalty payments and his continued oversight of

the quality of the products. Those agreements were canceled on July 21—either

“for any reason” as permitted in both 2016 Addendums (Tennant Exs. A-10 at

App. 057 & A-11 at App. 059) or for breach under Section 7 of the Licensing

Agreements (Tennant Exs. A-5 at App. 035 & A-6 at App. 043).

             4.     Senergy’s Infringement Creates a Likelihood of
                    Confusion.

      Infringement exists when a person uses a “reproduction” of the mark in

commerce without the registrant’s consent and “is likely to cause confusion.” TGI

Friday’s Inc. v. Great Nw. Restaurants, Inc., 652 F. Supp. 2d 763, 767 (N.D. Tex.

2009); Pro. Golfers Ass’n of Am. V. Bankers Life & Cas. Co., 514 F. 2d 665, 669-

70 (5th Cir. 1975) (“the gist of the action lies in the likelihood of confusion to the

public”).

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        Where the infringing party uses the exact same mark on the same product,

the likelihood of confusion is self-evident and no digits of confusion analysis9 is

required. See TGI Friday’s, 652 F. Supp. 2d at 767 (defendant’s use of the exact

marks on its restaurants makes likelihood of confusion evident); Paulsson

Geophysical Servs., Inc. v. Sigmar, 529 F.3d 303, 310-11 (5th Cir. 2008)

(affirming the district court’s analysis of confusion where the marks were

identical); see also Burger King Corp. v. Mason, 710 F.2d 1480, 1492 (11th Cir.

1983) (“Common sense compels the conclusion that a strong risk of consumer

confusion arises when terminated franchisee continues to use the former

franchisor’s trademarks.”).

        As in Paulsson and TGI Friday’s, the confusion that Senergy has created is

self-evident and intentional. Senergy’s entire website is designed to sell Dr.

Tennant’s life story and his Tennant devices. The trademarks still in use after

termination of the License Agreements are identical to Dr. Tennant’s registered

marks. Scott admits as much in his allegations: “Senergy is presently engaged in

the sale and advertising of goods under TENNANT marks, including but not



9
  Courts typically consider the digits of confusion to analyze this prong: (1) the type of mark allegedly
infringed; (2) the similarity between the two marks; (3) the similarity of the products or services; (4) the
identity of retail outlets and purchasers; (5) the identity of advertising media used; (6) the defendant’s
intent; and (7) any evidence of actual confusion. Viacom, 891 F.3d at 192. But the result would be the
same based on Senergy’s egregious conduct.


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limited to TENNANT BIOMODULATOR and TENNANT BIOTRANSDUCER

and variants thereof.” Compl. ¶ 53. Those marks continue to be used on the

identical medical devices developed by Dr. Tennant.

      The advertising by Senergy further bolsters the likelihood of confusion.

Senergy’s website continues to place Dr. Tennant at the heart of the advertising by

specifically associating the devices with Dr. Tennant directly. This includes

highlighting Dr. Tennant’s personal endorsement because of his own use of the

products (Farmer Ex. B-1 at App. 192; B-2 at App. 199) and explaining Dr.

Tennant as the source of the marked devices: “Dr. Tennant’s frequency sets,

protocols, training, and books” that sets these devices apart from other Avazzia

manufactured products. Farmer Ex. B-9 at App. 258-259. In other words,

Senergy’s continued advertising specifically relies on the goodwill and reputation

(and attendant quality control) that Dr. Tennant has built with respect to the

marked products.

             5.     There Is No Evidence for Scott’s Defenses to
                    Infringement.

      Scott has asserted a defense of abandonment through naked licensing.

Compl. ¶ 58.f. That defense is meritless.

      Naked licensing arises when the licensor “grant[s] [] permission to use its

mark without attendant provisions to protect the quality of the goods or services

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provided under the licensed mark.” Exxon Corp. v. Oxxford Clothes, Inc., 109 F.3d

1070, 1075 (5th Cir. 1997). This failure to exercise control over the licensee “may

result in an abandonment of trademark protection . . . .” Id. (emphasis original).

      Dr. Tennant’s involvement in promoting the trademarked devices, holding

seminars and educating medical professionals, and overseeing any quality control

issues is the antithesis of naked licensing. For over two decades, Dr. Tennant

controlled what devices Senergy could market under his brand. Tennant Decl. ¶ 7

at App. 005. For example, the Tennant BioTransducer® device was initially

manufactured by Avazzia—this was called the Tennant BioTransducer® crystal

wave. Tennant Decl. ¶ 13 at App. 007-008. This device never performed to his

expectations. Id. He then worked with a Florida manufacturer to create the Tennant

BioTransducer® Pro device, but again the quality of the product was insufficient.

Id.; see also Jared Tennant Decl. ¶ 5 at App. 278-279. As a result, in 2019 Dr.

Tennant worked with his son, Jared, to invent an entirely new device of higher

quality—the Tennant BioTransducer® Pro II. Jared Tennant Decl. ¶¶ 5-6 at App.

278-279. For similar reasons, in 2012, Dr. Tennant instructed Senergy to halt sales

of the “violet” version of the Tennant BioTransducer®. Tennant Decl. ¶ 14 at App.

008. When he learned that Senergy continued to refer to the product during

educational seminars, Dr. Tennant demanded that Senergy stop selling the product


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that was associated with his name and reputation. Id.; see also Tennant Ex. A-7 at

App. 048-049. Moreover, Dr. Tennant’s integrative medical practice includes

regular prescription of the BioTransducer® and BioModulator® to his patients.

Tennant Decl. ¶ 17 at App. 009. He is closely involved with the patient care

associated with the use of the products. Importantly, during the licensing period,

Dr. Tennant regularly presented at conferences and classes to ensure that patients

use the Tennant devices as designed and for maximal effect.

      B.     Dr. Tennant Has and Will Continue to Be Irreparably
             Harmed Absent an Injunction.
      Because Dr. Tennant is likely to succeed on the merits of his trademark

infringement claim (supra sect. IV.A.), a presumption of irreparable harm attaches.

In 2020, Congress amended the Lanham Act to specifically provide a presumption

of irreparable harm:

      A plaintiff seeking any such injunction shall be entitled to a rebuttable
      presumption of irreparable harm upon a finding . . . of likelihood of success
      on the merits for a violation identified in this subsection in the case of a
      motion for a preliminary injunction or temporary restraining order.

15 U.S.C. § 1116(a). That presumption applies here, where Dr. Tennant has

established a likelihood of success on his trademark infringement claims. See

Savage Tavern, 589 F. Supp. 3d at 659 (adopting this presumption as applicable).

      The egregious infringement present here also readily demonstrates



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irreparable injury. Courts recognize threatened harm where the infringing party

continues to pass off the mark as its own, even after termination of a licensing

agreement. See, e.g., TGI Friday’s, 652 F. Supp. 2d at 771; Fletcher’s, 434 F.

Supp. 3d at 496; Choice Hotels Int’l, Inc. v. Patel, 940 F. Supp. 2d 532, 543 (S.D.

Tex. 2013). The inability to exercise control “poses a substantial threat of injury”

to the “reputation and the goodwill” associated with the mark’s brand; this injury

cannot be remedied with money damages. TGI Friday’s, 652 F. Supp. 2d at 771.

The situation here is no different because Scott has intentionally ignored the

termination of the License Agreements and continues to use the marks without

permission.

      C.      The Equities Favor Issuing a Preliminary Injunction.

      “Courts usually hold that when defendants improperly use a plaintiff’s

trademark, the threatened harm to the plaintiff outweighs the threatened harm to

the defendants.” TGI Friday’s, 652 F. Supp. 2d at 773. Here, as with other cases on

point, the harm to Dr. Tennant far outweighs the threatened harm to Scott. If an

injunction is not entered, Dr. Tennant will lose control over the trademarks. See id.

at 772. This loss can—and likely will—threaten the reputation of the brand and

associated goodwill. Id. More, Scott’s continued use has already interfered with

Dr. Tennant’s access to the supply of the marked products for use in his practice.


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      Meanwhile, the hardship to Senergy is compliance with state and federal law

because the license agreements are terminated. Choice Hotels, 940 F. Supp. 2d at

543. Senergy may allege that the hardship also includes the loss of revenue from

the sale of infringing products. Courts have rejected this argument: “Defendants’

alleged hardship merits little consideration because it results directly from

Defendants’ decision to build their business around confusingly similar marks and

to continue their efforts to do so after they received [plaintiff’s] cease-and-desist

letter.” Fletcher’s, 434 F. Supp. 3d at 497. Moreover, protecting Dr. Tennant from

Senergy’s continuing willful infringement of his trademarks would not prevent

Senergy from marketing other non-Tennant devices and wellness products (i.e.,

competing in the marketplace without infringement).

       D.     The Public Will Be Served by the Injunction.

      “The public interest is always served by requiring compliance with

Congressional statutes such as the Lanham Act and by enjoining the use of

infringing marks.” Fletcher’s, 434 F. Supp. 3d at 497 (citations omitted). Indeed,

the “public interest promotes the protection of valuable trademarks . . .” even if

there is an immediate effect on the infringers’ business. TGI Friday’s, 652 F. Supp.

2d at 773. Moreover, the public is served by prohibiting deceptive representations

regarding the source of marked products. Id. Because Dr. Tennant meets the


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burden of showing likelihood of success on the merits of the injunction claim, he

necessarily demonstrates the public interest will be served by a preliminary

injunction.

                                 V.   CONCLUSION

      For the foregoing reasons, Dr. Tennant respectfully requests the Court enter

a preliminary injunction that:

   • Prohibits Scott and Senergy’s continued use of each of the trademarks at

      issue—Tennant BioTransducer®, Tennant BioModulator®, and Healing is

      Voltage® including without limitation displaying the trademarks on their

      website properties or other marketing channels and on any products they

      offer for sale, nor advertising, marketing, or selling any products bearing the

      marks; and,

   • Scott and Senergy submit a report within 30 days of the injunction

      demonstrating all actions they have taken to comply with the order, including

      with respect to withdrawing any advertising relying on the trademarks from

      their website or other promotional materials.




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Dated: October 11, 2024                 Respectfully submitted,


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                       CERTIFICATE OF CONFERENCE

      Pursuant to Local Rule CV-7(i), the undersigned certifies that the parties have
complied with the meet and confer requirements of Local Rule CV-7(h) and that the
foregoing motion and relief sought therein is unopposed.

                                        By: /s/Tyler L. Farmer
                                            Tyler L. Farmer

                       CERTIFICATE OF WORD COUNT

       Pursuant to Section II.A. of the Court’s Procedures for Cases Assigned to
District Judge Ada Brown and Standing Order, the undersigned hereby certifies that,
per the word-processor register, the foregoing Motion contains 6,250 words,
excluding the case caption, signature block, and certificates.

                                        By: /s/Tyler L. Farmer
                                            Tyler L. Farmer


                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the foregoing
was served upon all counsel of record through CM/ECF on October 11, 2024.


                                        By: /s/Tyler L. Farmer
                                            Tyler L. Farmer




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